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11   JACK DANIEL’S PROPERTIES, INC.
12                                 UNITED STATES DISTRICT COURT

13                                 FOR THE DISTRICT OF ARIZONA

14   VIP PRODUCTS, LLC,                                 Case No. CV-14-2057-PHX-SMM
15                    Plaintiff,                        DECLARATION OF PHILIP EPPS IN
                                                        SUPPORT OF MOTION FOR
16         v.                                           PARTIAL SUMMARY JUDGMENT
17   JACK DANIEL’S PROPERTIES, INC.,
18                    Defendant.
19
     AND RELATED COUNTERCLAIMS
20
21         I, PHILIP EPPS, hereby declare:
22         1.     I am the Global Brand Director for Jack Daniel’s Tennessee Whiskey for Brown-
23   Forman Corporation (“Brown-Forman”), the licensee of defendant and counterclaimant Jack
24   Daniel’s Properties, Inc. (“JDPI”). I make this declaration on the basis of my own personal
25   knowledge and in support of JDPI’s motion for partial summary judgment.
26         2.     Brown-Forman produces, markets, and distributes Jack Daniel’s Old No. 7
27   Tennessee whiskey and the other products in the Jack Daniel’s line under license from JDPI.
28

                                                          DECLARATION OF PHILIP EPPS IN SUPPORT OF
                                                          MOTION FOR PARTIAL SUMMARY JUDGMENT
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1    I have been employed by Brown-Forman since 2005. I first became involved with the Jack
2    Daniel’s brand in 2003 when I was working for Bacardi, Brown-Forman’s distributor for Jack
3    Daniel’s Old No. 7 Tennessee whiskey in the United Kingdom, and was asked to temporarily
4    assume the job duties of Brown-Forman’s United Kingdom Jack Daniel’s Marketing Manager,
5    who was on maternity leave at the time. In 2005, I joined Brown-Forman and assumed the
6    position of Brand Manager for Jack Daniel’s Old No. 7 Tennessee whiskey in the United
7    Kingdom. I subsequently became a Senior Brand Manager, Marketing Manager, and ultimately
8    the Area Director for the Jack Daniel’s family of brands in the United Kingdom, Ireland, and
9    South Africa.
10          3.       In 2011, I moved from the United Kingdom to Brown-Forman’s headquarters in
11   Louisville, Kentucky, where I assumed the position of Brand Director for North America for
12   Jack Daniel’s Old No. 7 Tennessee whiskey and Jack Daniel’s Tennessee Honey, and where
13   I have been based since. In April 2013, I assumed the position of Group Brand Director for the
14   Jack Daniel’s family of brands and on May 1 of this year I assumed my current position as
15   Global Brand Director for Jack Daniel’s Old No. 7 Tennessee whiskey. I currently have
16   responsibility for all aspects of the marketing, advertising, promotion, and licensing of Jack
17   Daniel’s Old No. 7 Tennessee whiskey worldwide. As a result of my work with Jack Daniel’s
18   Old No. 7 Tennessee whiskey, and my review of Brown-Forman’s business files and records,
19   I have in-depth knowledge of, and am fully familiar with, all aspects of the marketing,
20   advertising, promotion, distribution, and sale of Jack Daniel’s Old No. 7 Tennessee whiskey, as
21   well as the history of the brand.
22          4.       Jack Daniel’s Tennessee whiskey has been sold in the United States continuously
23   since 1866 except during the periods of national and state Prohibition. The current packaging
24   of the flagship product in the Jack Daniel’s line, Jack Daniel’s Old No. 7 Tennessee whiskey, is
25   shown below:
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11   The same packaging is used for Jack Daniel’s Old No. 7 Tennessee whiskey sold in 50 ml., 375
12   ml, 750 ml., 1-liter and 1.75 liter sizes.
13          5.     Jack Daniel’s Old No. 7 Tennessee whiskey is sold in the United States through a
14   wide variety of “off-premise” outlets (private and state-controlled liquor stores, grocery stores,
15   mass merchandisers, and other retailers) and “on-premise” outlets (primarily bars and
16   restaurants). It has been the best-selling whiskey in the United States since 1997. It is by far the
17   largest-selling American whiskey. Brown-Forman does ongoing consumer tracking studies
18   regarding the prompted (aided) and unprompted (unaided) awareness of Jack Daniel’s Old No.
19   7 Tennessee whiskey. The aided awareness of the Jack Daniel’s brand is consistently around
20   98% and the unaided awareness of the brand is consistently in the 80th decile, which I believe to
21   be among the highest levels of unaided awareness in the whiskey business.
22          6.     Brown-Forman distributes Jack Daniel’s Old No. 7 Tennessee whiskey to
23   distributors under the three-tier system of distribution of alcoholic beverages in the United
24   States. Distributors, in turn, distribute the product to on- and off-premise retailers for sale to
25   consumers. Brown-Forman reports on a fiscal year basis (e.g., Fiscal Year 2016 began on
26   May 1, 2015 and will end on April 30, 2016). Between Fiscal Year 1997 and Fiscal Year 2015,
27   total rounded unit sales of Jack Daniel’s Old No. 7 whiskey in the United States (expressed in
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1    sales (“depletions”) of 9-liter cases by Brown-Forman to distributors) exceeded 75,000,000
2    cases, yielding revenues exceeding US $10,000,000,000. The vast majority of these sales
3    involved bottles in the packaging shown above and the predecessor packaging for the product.
4    Through sales of Jack Daniel’s Old No. 7 Tennessee whiskey, the packaging of the product has
5    been exposed for decades to many millions of consumers through its display in off- and
6    on-premise accounts. Brown-Forman has supported sales of Jack Daniel’s Old No. 7 Tennessee
7    whiskey in both on- and off-premise outlets through distribution of thousands of point-of-sale
8    promotional items that have shown, or in some instances consisted of, the packaging for Jack
9    Daniel’s Old No. 7 Tennessee whiskey. Examples of such materials are attached hereto as
10   Exhibit 1.
11          7.     A print advertising campaign for Jack Daniel’s Old No. 7 Tennessee whiskey
12   commenced in the United States in the 1950's and has continued to the present, making it one of
13   the longest-running consumer campaigns in American history. The Jack Daniel’s packaging
14   and/or the label has prominently appeared in most of this print advertising, frequently as the
15   largest or main visual element of the advertising. Copies of representative print advertisements
16   for Jack Daniel’s whiskey are attached hereto as Exhibit 2. Print advertisements for Jack
17   Daniel’s Old No. 7 Tennessee whiskey have appeared in a wide variety of publications,
18   including national magazines such as Field & Stream, Golf Digest, Playboy, Rolling Stone, and
19   Sports Illustrated, local magazines, newspapers, trade publications, and event programs. Many
20   hundreds of millions of dollars have been expended on advertising and promotion of Jack
21   Daniel’s Old No. 7 Tennessee whiskey between Fiscal Year 1997 and the present.
22          8.     For the past several years, advertising for Jack Daniel’s Old No. 7 Tennessee
23   whiskey in print has largely been replaced by advertisements on television, in digital media, and
24   in “out-of-home” (“OOH”) advertising, principally billboards. Brown-Forman’s annual budget
25   for such advertising of Jack Daniel’s Old No. 7 Tennessee whiskey over the past few years in
26   the United States has exceeded $15,000,000. Television advertising has appeared in connection
27   with shows on ESPN, The Discovery Channel, The History Channel, FX, and late-night shows
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1    on ABC and NBC, among many others. The Jack Daniel’s packaging has been prominently
2    featured in virtually all of the television advertisements for Jack Daniel’s whiskey that have run
3    since spirits brands began advertising on television again in the United States following the
4    lifting of a self-imposed industry ban on such advertising. The Jack Daniel’s packaging is
5    usually the last image seen by the viewer in these advertisements, and in some of the
6    advertisements there has been no voiceover or text and the packaging is the communication
7    focal point. A disc containing a number of television advertisements for Jack Daniel’s Old
8    No. 7 Tennessee whiskey is attached hereto as Exhibit 3. Well in excess of $100,000,000 has
9    been expended on television advertising for Jack Daniel’s Old No. 7 Tennessee whiskey since
10   such advertising resumed.
11          9.     The Jack Daniel’s packaging has appeared in a variety of other forms of
12   advertising, including OOH billboards and other forms of indoor and outdoor advertising, and
13   has been exposed in this way to millions of Americans. In most of the OOH advertising, the
14   packaging is by far the largest and most visible visual element and in some of the OOH the
15   packaging is the only element. Representative samples of these forms of advertising are
16   attached hereto as Exhibit 4.
17          10.    Jack Daniel’s Old No. 7 Tennessee whiskey has appeared in numerous motion
18   pictures seen by many millions of Americans, including Raiders of the Lost Ark, A Few Good
19   Men, Mystic River, Waterworld, Pearl Harbor, Any Which Way You Can, Fisher King, Gone in
20   60 Seconds, Mr. Mom, Platoon, The Shining, Man on Fire, Guarding Tess, The Bridges of
21   Madison County, Rock Star, Almost Famous, The Hard Way, The Flintstones, Blue Steel,
22   Nobody’s Fool, Lethal Weapon 3, Animal House, Goldeneye, Rock of Ages, Ted, and Won’t
23   Back Down. The product has been referenced in other films, including Hud, Basic Instinct,
24   Gran Torino, Rainmaker, Monster’s Ball, and Christmas Vacation. A disc showing scenes from
25   some of the films in which Jack Daniel’s Old No. 7 Tennessee whiskey has appeared or been
26   referenced is attached hereto as Exhibit 5. Jack Daniel’s Old No. 7 Tennessee whiskey has also
27   appeared in television programs such as Treme, True Blood, The Office, Psych, 30 Rock, Bored
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     to Death, Bar Rescue, New Girl, Two Broke Girls, Justified, and Criminal Minds. A disc
 2   showing Jack Daniel's Old No. 7 whiskey in scenes from television programs is attached hereto
 3   as Exhibit 6.
 4          11.      Jack Daniel's Old No. 7 Tennessee whiskey has also received exposure to the
 5   public by being featured on non-entertainment television programs and by being held, or shown
 6   in use, publicly by celebrities and entertainers such as Frank Sinatra and Mick Jagger. A disc
 7   depicting these fmms of exposure of the packaging for Jack Daniel's Old No. 7 Tennessee
 8   whiskey to the public is attached hereto as Exhibit 7. Brown-Forman also promotes a "Jack
 9   Daniel's Experience" at music festivals, motorcycle rallies, and NASCAR events around the
10   country, at which it frequently uses a large inflatable version of the Jack Daniel's Old No. 7
11   Tennessee whiskey bottle to help event attendees identify and locate the Jack Daniel's
12   Experience. Brown-Forman expects to reach more than 3,000,000 event attendees this year in
13   this way.
14          12.      The Jack Daniel's Old No. 7 Tennessee whiskey packaging is featured
15   prominently on the website at www.jackdaniels.com, which during calendar year 2014 was
16   visited over 4,000,000 times. Depictions of the packaging from the website are attached hereto
17   as Exhibit 8. The packaging also appears on social media pages for the brand. An example is
18   attached hereto as Exhibit 9.
19          13.      The Jack Daniel Distillery in Lynchburg, Tennessee, which has been in operation
20   since the 19th Century, has offered tours of its facility for many years. During calendar year
21   2014 the distillery had about 270,000 visitors. The packaging for Jack Daniel's Old No. 7
22   whiskey is displayed on various parts of the tour and elsewhere at the distillery.
23          I declare under penalty of pe1jury under the laws of the United States of America that the
24   foregoing is true and correct.
25          Executed this /61-k day of October 2015 in Louisville Kent cky.
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                                                     6
                                                            DECLARATION OF PHILIP EPPS IN SUPPORT OF
                                                            MOTION FOR PARTIAL SUMMARY JUDGMENT
